  EXHIBIT A



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 Keith Altman (pro hac vice)
 The Law Office of Keith Altman
 33228 West 12 Mile Road, Suite 375
 Farmington Hills, MI 48334
 (516)456-5885
 kaltman@lawampmmt.com

 Attorney for Plaintiff

                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF ALASKA

DANIEL MACDONALD,                                     Case: 1:20-cv-00001-SLG
                                                      Hon: Sharon L. Gleason
                       PLAINTIFF,
V.
THE UNIVERSITY OF ALASKA,
SARA CHILDRESS IN HER
INDIVIDUAL AND SUPERVISORY
CAPACITY, CHASE PARKEY IN
HIS INDIVIDUAL AND
SUPERVISORY CAPACITY, SEAN
MCCARTHY, JON TILLINGHAST,
AND JOHN DOES 1-25
                       DEFENDANTS.




     DECLARATION OF DANIEL MACDONALD IN SUPPORT OF PLAINTIFF’S
     RENEWED EMERGENCY MOTION FOR A TEMPORARY RESTRAINING
                ORDER AND PRELIMINARY INJUNCTION




       Declaration of Daniel MacDonald in Support of Plaintiff’s Renewed Motion for Preliminary Injunction
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I, Daniel MacDonald, declare under penalty of perjury:
       1.      My name is Daniel MacDonald and I am currently a student at the University

of Alaska (“UA”), Juneau campus where I am a senior.

       2.      I am the Plaintiff in the present case, a citizen of the United States of America

and a resident and domiciliary of the State of Washington.

       3.      I have personal knowledge of myself, my activities, and my intentions as

alleged in the complaint in this matter, ECF # 1 and if called to testify I would competently

testify as to the matters stated in the complaint and this declaration.

       4.      I verify under penalty of perjury under the laws of the United States of

America that the factual statements in the complaint, ECF #1, concerning myself, my

activities, and my intentions are true and correct.

       5.      Attached to the Renewed Motion for Preliminary Injunction in this matter as

Exhibit “B” is a true and correct copy of the sexual harassment policy of the Regents of

the University of Alaska, Part I, Chapter 01.04 downloaded from the University of Alaska

Website.

       6.      Attached to the Renewed Motion for Preliminary Injunction in this matter as

Exhibit “C” is a true and correct copy of a letter dated from the University of Alaska to

myself dated November 8, 2019.

       7.      Attached to the Renewed Motion for Preliminary Injunction in this matter as

Exhibit “D” is a true and correct copy of a letter from myself to Chase Parkey of the

University of Alaska dated January 27, 2020.



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       8.      Attached to the Renewed Motion for Preliminary Injunction in this matter as

Exhibit “E” is a true and correct copy of an email from Sara Childress to Daniel MacDonald

dated March 2, 2020.

       9.      Attached to the Renewed Motion for Preliminary Injunction in this matter as

Exhibit “F” is a true and correct copy of an email from Daniel MacDonald to Sara Childress

dated March 3, 2020.

       10.     Attached to the Renewed Motion for Preliminary Injunction in this matter as

Exhibit “G” is a true and correct copy of an email from Sara Childress to Daniel

MacDonald dated April 14, 2020.

       11.     On November 8, 2019, I received a letter from UA informing me that I was

being charged with violations of UA’s sexual misconduct policy. Exhibit “C”.

       12.     I vehemently deny the allegations outlined in the letter.

       13.     I downloaded a copy of the sexual harassment policy as referenced in the

letter. Exhibit “B”.

       14.     The matter was investigated by Chase Parkey of UA.

       15.     On or before December 28, 2019, I did not receive the results of the

investigation, nor was I informed that the investigation would be extended.

       16.     After interviews were conducted, including my own, I was able to review the

transcripts of the interviews.

       17.     Based on my review of the interviews, I became concerned that Mr. Parkey

had conducted the interviews in a manner that was both unprofessional and tainted the

witnesses.
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       18.     On January 27, 2020, I sent a letter to Mr. Parkey and the UA administrators

outlining my concerns with the investigation. Exhibit “D”. Shortly thereafter, Ms.

Childress contacted me and asked: “are you trying to get Mr. Parkey fired?” To which I

asked if she had read the letter, she responded: “I skimmed it.” She also told me that the

University did not have the resources to investigate all the Title IXs issues I had raised in

the letter. I asked her to read the full letter and ended the conversation,

       19.     I did not receive any further communications from UA until March 2, 2020,

when I was informed that Mr. Parkey had been removed as the investigator and that a new

investigator would be appointed. Exhibit “E”

       20.     On March 3, 2020, I emailed UA and informed them that the investigation

had not been conducted under the timelines dictated by the policies, that the investigation

had tainted the witnesses, that good cause for an extension did not exist because the

investigator had conducted a flawed investigation, and that I would not be able to receive

fair adjudication of the matter. Exhibit “F”.

       21.     I subsequently learned that Jon Tillinghast, Esq. would now be conducting

the investigation.

       22.     In early April, I was informed by Mr. Tillinghast that he wished to re-

interview me concerning the allegations.

       23.     On April 14, 2020, I received an email from Sara Childress informing me

that if I did not agree to be re-interviewed by Mr. Tillinghast by close of business on Friday,

April 17, the investigation would proceed without my input. Exhibit “G”.


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       24.     UA is proceeding with the interview despite my concerns about the timeline

and the tainting of the witnesses. I believe that I will be denied a fair and impartial

adjudication of the matter.

       25.     During the time that this matter has been pending, I have been under severe

emotional distress. Every day that I am under threat of severe sanctions, I find that it is

disrupting everything in my life.

       26.     I have been severely depressed and have attempted suicide on multiple

occasions.

       27.     My physical health has also suffered. I have lost 22 pounds which is

unhealthy for me as my height was six feet and my weight was 175 pounds. I now weigh

153 pounds. I have also been losing hair.

       28.     I intend to pursue a career in archaeology. Such a career requires an

advanced graduate degree. The pending allegations have disrupted my ability to gain

admittance to a graduate program. During the pendency of the investigation, I am unable

to obtain the necessary letters of recommendation.

       29.     I have lost many friends because the complainants in this matter have spread

the word throughout UA that I am a sexual predator. This disclosure occurred, at least in

part, due to the unprofessional conduct of Chase Parkey.

       30.     If the investigation is allowed to continue, I will suffer in ways that I will

never be able to recover. If the investigation clears my name, I will still have lost time in

pursuing my career in addition to continued emotional distress.


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       31.     If the investigation finds me responsible, I will have been damaged because

of the initial investigation being conducted in an unprofessional manner which tainted the

witnesses.

       32.     Even if the investigation eventually clears me of wrongdoing, I will never be

able to recover the time that I have lost. So long as the investigation continues, my health

will likely continue to deteriorate.

       In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.



       Executed on April 19, 2020                                  ______________________
                                                                   Daniel MacDonald




     Declaration of Daniel MacDonald in Support of Plaintiff’s Renewed Motion for Preliminary Injunction
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